                             IN THE UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TENNESSEE
                                        AT KNOXVILLE



 UNITED STATES OF AMERICA,                             )
                                                       )
                                 Plaintiff,            )
                                                       )
                        v.                             )       No. 3:05-CR-124
                                                       )       (JORDAN/GUYTON)
 JAMIE IVAN HENRY,                                     )
                                                       )
                                 Defendant.            )



                                  MEMORANDUM AND ORDER

                All pretrial motions in this case have been referred to the undersigned pursuant to 28

 U.S.C. § 636(b) for disposition or report and recommendation regarding disposition by the District

 Court as may be appropriate.

                This case came before the Court on June 1, 2006 for a hearing on defendant Jamie

 Ivan Henry’s Motion For Revocation of January 30, 2006 Order of Detention And For Pretrial

 Release on Conditions [Doc. 91]. The movant seeks to have this Court set aside the Order of

 Detention entered by the United States District Court for the Northern District of Georgia on January

 30, 2006 [Doc. 92]. The government opposes the Motion.

                Based on: (1) the testimony taken at the hearing, (2) a review of the seven exhibits

 to the hearing, including the transcript of the Georgia proceeding, (3) the argument of counsel; (4)

 the applicable law; and (5) the entire record in the case, including the pretrial services report in

 Georgia, the Court finds that the defendant Jamie Ivan Henry has not overcome the statutory

 presumption that no condition or combination of conditions will reasonably assure the appearance

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 of the defendant as required and the safety of the community. Therefore, the Motion [Doc. 91] is

 DENIED.


               IT IS SO ORDERED.

                                             ENTER:


                                                   s/ H. Bruce Guyton
                                             United States Magistrate Judge




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